Case 23-11069-CTG Doc1764 Filed 01/16/24 Pagelof1

United States Bankruptcy Court for the District of Delaware

WITHDRAWAL OF CLAIM

Debtor Name and Case Number: | Yellow Corporation 23-11069

DOOSAN BOBCAT NORTH AMERICA, INC.

cio HUTT & SHIMANOWITZ PC

459 AMBOY AVE., P.O. BOX 648

WOODBRIDGE, NJ 07095

Creditor Name and Address:

Court Claim Number (if known): | 18247

Date Claim Filed: | 11/13/2023

Total Amount of Claim Filed: | $287,128.44

I, the undersigned, am the above-referenced creditor, or an authorized signatory for the above-referenced
creditor. [ hereby withdraw the above-referenced claim and authorize the Clerk of this Court, or their
duly appointed Claims Agent, to reflect this withdrawal on the official claims register for the above-
referenced Debtor.

January 16, 2024

Dated:
Print Name Thomas i Perry SSS
Title (if applicable): Attorney for Doosan Bobcat NA
DEFINITIONS
Debtor

The person, corporation. or other entity that has filed a bankruptcy case is called the debtor

Creditor
A creditor is any person, corporation, or other entity to which the debtor owed a debt

Proof of Claim
A form filed with the clerk of the bankruptey court where the bankruptcy case was filed, to tell the bankruptey court how much the debtor owed a
creditor (the amount of the creditor's claim).

ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM

Court, Name of Debter and Case Number:

Fill in the name of the federal judicial district where the bankruptey case was filed (for example, Central District of California). the name of the
debtor in the bankruptcy case, and the bankruptcy case number. If you received a notice of the case from the court, all of this information is near
the top of the notice.

Information about Creditor:
Complete the section giving the name and address of the creditor that was listed on the previously filed Proof of Claim form

Information identifying the Claim that is to be withdrawn:
Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be
withdrawn.

Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power
of attorney, if any).

This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed
or, if applicable, with their duly appointed Claims Agent as per any procedure approved by the
court in the above-referenced bankruptcy proceeding.

